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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                              x
    In re

    MADISON ASSET LLC,                                        : In a Case Under Chapter 15
                                                              : ofthe Bankruptcy Code
   Debtor in a Foreign Proceeding.                           : Case No. 18-
                                                             x
                     LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

   I, Christopher James Smith, a Joint Official Liquidator of Madison Asset LLC
                                                                                       (in Official
   Liquidation) (the "Company"), hereby files, as a duly authorized foreign
                                                                                 representative, as
   defined under section 101(24) of title 11 of the United States Code (the "Bankru
                                                                                    ptcy Code"), in
   the above-captioned case under Chapter 15 of the Bankruptcy Code, the followi
                                                                                          ng list in
   accordance with Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure,
                                                                                  which provides:
            [A] foreign representative filing a petition for recognition under chapter 15 shall
            file with the petition . .. a list containing the names and addresses of all persons
            or bodies authorized to administer foreign proceedings of the debtor, all parties
                                                                                               to
            litigation pending in the United States in which the debtor is a party at the time
                                                                                               of
            the filing of the petition, and all entities against whom provision relief is being
            sought under § 1519 ofthe Code.

  FED.R.BANKR.P. 1007(a)(4).

  Name and Address of Administrators in Foreign Proceedings Respecting Debtor

 On July 4,2018, the Grand Court of the Cayman Islands (the "Cayman Court") issued
                                                                                        an order,
 pursuant to which (1) the Company was placed into liquidation in accordance with
                                                                                   Part V of the
 Cayman Islands Companies Law (2018 Revision), and (2) Martin Nicholas John
                                                                                       Trott was
 appointed as the Official Liquidator of the Company. By order dated August
                                                                                  17, 2018, the
 Cayman Court appointed me (together with me,the "Petitioners") as the Joint Official
                                                                                      Liquidator
 ofthe Company. By order dated September 5, 2018,the Cayman Court expressly
                                                                                  authorized the
 Petitioners to seek recognition of the Cayman Proceeding under Chapter 15 of the
                                                                                     Bankruptcy
 Code.



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    The Petitioners arc aware of only one foreign proceeding, as defined in
                                                                             section 101(23) of the
    Bankruptcy Code, with regard to the Company, which is the liquidation proceedi
                                                                                         ng pending
    before the Cayman Court (the "Cayman Proceeding") and that is the subject
                                                                                  of the Chapter 15
    petition filed in the above-captioned case. The duly appointed Joint Official
                                                                                  Liquidators in the
    Cayman Proceeding are as follows:

    Joint Official Liquidators:         Martin Nicholas John Trott
                                        RHSW (Cayman) Ltd.
                                        PO Box 897
                                        Windward 1, Regatta Office Park
                                        Grand Cayman, K Y1-1103
                                        Cayman Islands

                                        Christopher James Smith
                                        RHSW (Cayman) Ltd.
                                        PO Box 897
                                        Windward 1, Regatta Office Park
                                        Grand Cayman, KY1-1103
                                        Cayman Islands

   Litigation Parties in the United States

   The Petitioners are not aware of any litigation pending in the United States
                                                                                to which the
   Company is a party.

  Entities Against Whom Provisional Relief is Sought Under 11 U.S.C. & 1519

  The Petitioners are not seeking provisional relief under section 1519 of the Bankrupt
                                                                                        cy Code
  against any entities in the United States in this Chapter 15 case at this time.

         1, Christopher James Smith, hereby declare, pursuant to 28 U.S.C. § 1746, under
                                                                                         penalty
  of perjury under the laws of the United States of America that, to the best of my knowled
                                                                                             ge,
  information and belief, the foregoing is true and correct.

  Dated: September 18, 2018


                                               Christopher James Smith, as Joint Official
                                               Liquidator of Madison Asset LLC (in Official
                                               Liquidation)




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